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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )             8:12CR391
                       Plaintiff,                     )
                                                      )
       vs.                                            )               ORDER
                                                      )
FRANK FIROZ,                                          )
                                                      )
                       Defendant.                     )
       This matter is before the court on the motion of Alan G. Stoler to withdraw as counsel for the
defendant, Frank Firoz (Firoz) (Filing No. 321). Mr. Stoler represents he has a conflict of interest
in this matter as he represents another person who may be a witness in these proceedings. Mr.
Stoler’s motion to withdraw (Filing No. 321) is granted.
       Following a hearing on April 14, 2014, the court gave Firoz time to retain counsel. Firoz
again appeared before the court on April 23, 2014, and informed the court he was unable to retain
counsel and wished to proceed pro se (Filing No. 335). After inquiry of Firoz by the court and Firoz’s
withdrawal of his request to proceed pro se, the court finds Firoz is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice
Act Plan for the District of Nebraska. Firoz’s motion to proceed pro se is deemed withdrawn and
shall be termed on the docket. However, the appointment is made with the provision that Firoz
reimburse the CJA fund at the conclusion of the case should Firoz’s financial condition be sufficient.
       Michael D. Nelson, 503 South 36th Street, Omaha, NE 68105-1201, (402) 344-8044, is
appointed to represent Firoz for the balance of these proceedings pursuant to the Criminal Justice
Act. Mr. Stoler shall forthwith provide Mr. Nelson with the discovery materials provided the
defendant by the government and such other materials obtained by Mr. Stoler which are material
to Firoz’s defense.
       Mr. Nelson shall be eligible for interim payments under the Criminal Justice Act in
accordance with the court’s previous order of May 1, 2013 (Filing No. 180), and to participate in the
data management plan of the National Litigation Support Team (NLST) as previously approved
(Filing No. 193).
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 23rd day of April, 2014.
                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
